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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA

                                 CASE NO. 22-MJ-8332-BER

  IN RE SEALED SEARCH WARRANT

  ________________________________/

    UNITED STATES’ MOTION TO UNSEAL LIMITED WARRANT MATERIALS

         On August 8, 2022, the Department of Justice executed a search warrant, issued by

  this Court upon the requisite finding of probable cause, see Fed. R. Crim. P. 41(c)(1)-(2), at

  the premises located at 1100 S. Ocean Blvd., Palm Beach, Florida 33480, a property of former

  President Donald J. Trump.

         At the time the warrant was initially executed, the Department provided notice directly

  to former President Trump’s counsel. The Department did not make any public statements

  about the search, and the search apparently attracted little or no public attention as it was

  taking place. Later that same day, former President Trump issued a public statement

  acknowledging the execution of the warrant. In the days since, the search warrant and related

  materials have been the subject of significant interest and attention from news media

  organizations and other entities.

         In these circumstances involving a search of the residence of a former President, the

  government hereby requests that the Court unseal the Notice of Filing and its attachment

  (Docket Entry 17), absent objection by former President Trump. The attachment to that

  Notice consists of:

     •   The search warrant signed and approved by the Court on August 5, 2022, including

         Attachments A and B; and




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      •   The redacted Property Receipt listing items seized pursuant to the search, filed with

          the Court on August 11, 2022. 1

  The government will respond to the direction of the Court to provide further briefing as to

  additional entries on the docket, pursuant to the schedule set by the Court.

          Consistent with standard practice in this Court, the search warrant and attachments

  were each filed under seal in Case No. 22-mj-8332-BER prior to the search; the Property

  Receipt was filed under seal today. Former President Trump, through counsel, was provided

  copies of each of these documents on August 8, 2022, as part of the execution of the search.

                                               Argument

         In These Circumstances, the Court Should Unseal the Search Warrant, Including
  Attachments A and B, and the Property Receipt, Absent Objection from the Former
  President.

          The press and the public enjoy a qualified right of access to criminal and judicial

  proceedings and the judicial records filed therein. See, e.g., Romero v. Drummond Co., Inc., 480

  F.3d 1234, 1245 (11th Cir. 2007); Chicago Tribune Co. v. Bridgestone/Firestone, Inc., 263 F.3d

  1304, 1311 (11th Cir. 2001). The unsealing of judicial materials pursuant to the common-law

  right of access “requires a balancing of competing interests.” Chicago Tribune Co., 263 F.3d at

  1311. “In balancing the public interest in accessing court documents against a party’s interest

  in keeping the information confidential, courts consider, among other factors, whether

  allowing access would impair court functions or harm legitimate privacy interests, the degree

  of and likelihood of injury if made public, the reliability of the information, whether there will




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   The redactions in Docket Entry 17 remove the names of law enforcement personnel who executed
  the search from the unsealed materials. For ease of reference, the documents the government seeks
  to unseal, in the form to be made available to the public, have been filed under seal as Docket Entry
  Number 17.


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  be an opportunity to respond to the information, whether the information concerns public

  officials or public concerns, and the availability of a less onerous alternative to sealing the

  documents.” Romero, 480 F.3d at 1246. 2 Given the intense public interest presented by a

  search of a residence of a former President, the government believes these factors favor

  unsealing the search warrant, its accompanying Attachments A and B, and the Property

  Receipt, absent objection from the former President.

         Although the government initially asked, and this Court agreed, to file the warrant and

  Attachments A and B under seal, releasing those documents at this time would not “impair

  court functions,” including the government’s ability to execute the warrant, given that the

  warrant has already been executed. See Romero, 480 F.3d at 1246. Furthermore, on the day

  that the search was executed, former President Trump issued a public statement that provided

  the first public confirmation that the search had occurred.              Subsequently, the former

  President’s representatives have given additional statements to the press concerning the

  search, including public characterizations of the materials sought. See, e.g., F.B.I Search of

  Trump’s Home Pushes Long Conflict Into Public View, N.Y. Times (Aug. 9, 2022), available at

  https://www.nytimes.com/2022/08/09/us/politics/fbi-search-trump.html (“Christina Bobb, a

  lawyer and aide to Mr. Trump who said she received a copy of the search warrant, told one

  interviewer that the agents were looking for ‘presidential records or any possibly classified

  material.’”). As such, the occurrence of the search and indications of the subject matter

  involved are already public.


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   In addition, the First Amendment provides a basis for the press and the public’s “right of access to
  criminal trial proceedings.” Chicago Tribune Co., 263 F.3d at 1310. However, this Circuit has not
  addressed whether the First Amendment right of access applies to sealed search warrant materials.
  See, e.g., Bennett v. United States, No. 12-61499-CIV, 2013 WL 3821625, at *3 (S.D. Fla. July 23, 2023)
  (“this Court has found no Eleventh Circuit decisions addressing whether a First Amendment right of
  access extends to sealed search-warrant affidavits, particularly at the preindictment stage”).


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         This matter plainly “concerns public officials or public concerns,” Romero, 480 F.3d at

  1246, as it involves a law enforcement action taken at the property of the 45th President of

  the United States. The public’s clear and powerful interest in understanding what occurred

  under these circumstances weighs heavily in favor of unsealing. That said, the former

  President should have an opportunity to respond to this Motion and lodge objections,

  including with regards to any “legitimate privacy interests” or the potential for other “injury”

  if these materials are made public. Romero, 480 F.3d at 1246. To that end, the government

  will furnish counsel for the former President with a copy of this Motion.

                                           Conclusion

         This Court should unseal Docket Entry 17, subject to the presentation of

  countervailing interests by former President Trump. A proposed Order is attached herein.


                                                     Respectfully submitted,

                                                     /s Juan Antonio Gonzalez
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                                    Certificate of Service

         I HEREBY CERTIFY that I caused the attached document to be electronically

  transmitted to the Clerk’s Office using the CM/ECF system for filing.


                                                    /s Juan Antonio Gonzalez
                                                   Juan Antonio Gonzalez
                                                   United States Attorney




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